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                                                                                March 300, 2023
VIA ECF
United States District Court
Southern District of New York
Attn: Hon. Paul A. Engelmayer, U.S.D.J.
40 Foley Square, Courtroom 1305
New York, NY 10007-1312

       Re:     Avi & Co NY Corp. v. ChannelAdvisor Corp.
               Case No.: 1:22-cv-10599 (PAE) (SLC)
               MLLG File No.: 174-2022___________________

Dear Judge Engelmayer:

        This firm represents the Plaintiff in the above-referenced case. Plaintiff writes to
respectfully seek an extension of time of the briefing schedule related to Defendant’s motion to
transfer venue and to dismiss set forth in this Court’s March 9, 2023 Order.

         Pursuant to ¶ I(E) of this Court’s Individual Rules and Practices in Civil Cases, Plaintiff
submits that: (i) the original dates for Plaintiff to respond to the motions and for Defendant to
submit a reply in further support are March 23, 2023 and March 29, 2023, respectively, and the
new dates the parties seek are April 17, 2023 and May 17, 2023, respectively; (ii-iii) there have
been no previous requests for an extension of time of these deadlines; (iv) Defendant previously
consented to the requested briefing schedule, but has since then recanted its consent, but has stated
that it does not object to the requested extension; and (v) the requested extension of time does not
affect any other scheduled dates as the parties have not yet conducted a conference pursuant to
Rule 16 of the Federal Rules of Civil Procedure.

        The reason for the request (and why it was not made sooner) is that, among other deadlines
and appearances, Plaintiff’s counsel was before the Hon. Pamela K. Chen, U.S.D.J. on a hearing
for a preliminary injunction which your undersigned spent significant time preparing for over the
last couple of weeks. In addition, your undersigned is currently preparing for trial before the Hon.
Lorna G. Schofield, U.S.D.J. which is scheduled to commence in early May. As a result, your
undersigned was unable to submit the instant letter motion sooner. Plaintiff therefore respectfully
submits that there exists both good cause and excusable neglect for granting the requested
extension of the briefing schedule. See Fed. R. Civ. P. 6(b)(1)(B).

         Accordingly, Plaintiff’s consent letter motion for an extension of time to submit opposition
and reply briefs on Defendants’ motions should be granted. Plaintiff thanks this honorable Court
for its time and attention to this case.
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Dated: Lake Success, New York
       March 30, 2023               Respectfully submitted,

                                    MILMAN LABUDA LAW GROUP PLLC


                                    _______/s____________________________
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